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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                               :
In re                                          :          Chapter 11
                                               :
QUIKSILVER, INC., et al.,                      :          Case No. 15-11880 (BLS)
                                               :
                  Debtors.                     :          (Jointly Administered)
                                               :

                             MOTION AND ORDER FOR ADMISSION
                             PRO HAC VICE OF MICHAEL S. STAMER

                  Pursuant to Rule 9010-1 of the Local Rules of Bankruptcy Practice and Procedure
of the United States Bankruptcy Court for the District of Delaware and the attached certification,
counsel moves the admission pro hac vice of Michael S. Stamer, Esq. of Akin Gump Strauss
Hauer & Feld LLP to represent the Official Committee of Unsecured Creditors in the chapter 11
cases of the above-captioned debtors and debtors-in-possession.

Dated: September 29, 2015                   Respectfully submitted,
Wilmington, Delaware
                                            PEPPER HAMILTON LLP

                                             /s/ John H. Schanne, II
                                            John H. Schanne, II (DE No. 5260)
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                                            1313 N. Market Street
                                            P.O. Box 1709
                                            Wilmington, Delaware 19801-1709
                                            Telephone: (302) 777-6500
                                            Facsimile: (302) 421-8390

                                            Proposed Counsel for the Official Committee of
                                            Unsecured Creditors


                                      ORDER GRANTING MOTION

          IT IS HEREBY ORDERED counsel’s motion for admission pro hac vice is granted.




           Dated: October 6th, 2015                  BRENDAN L. SHANNON
           Wilmington, Delaware                      UNITED STATES BANKRUPTCY JUDGE

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